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                                 UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA


SUSAN Y. SOONG                                         450 GOLDEN GATE AVENUE, BOX 36060
     CLERK                                       SAN FRANCISCO, CA 94102
                                                          (415) 522-2000




                                         June 22, 2022

Hendricks v. StarKist Settlement Administrator
P.O. Box 40007
College Station, TX 77842-4007

        Re: 13-CV-00729-HSG

Dear Settlement Administrator:

      Enclosed is a letter that was mailed to the Court in reference to the Hendricks v.
StarKist Co. case.


                                                                 Very Truly Yours,


                                                                  Deputy Clerk
